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                              UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION




UNITED STATES OF AMERICA                              JUDGE DONALD C. NUGENT


               Plaintiff,                             CASE NO.: 1:23 CR225


       vs.                                            MEMORANDUM OPINION
                                                      AND ORDER
ERIC SLOBAN,

               Defendant.




       This matter is before the Court on Defendant, Eric Sloban's Motion to Modify Detention

Order(EOF #26), and Motion for Home Inspection(ECF #29). The Government filed a Response

in Opposition. (ECF #27).

       A Criminal Complaint was filed against Mr. Sloban on March 28,2023, charging him with

Possession with Intent to Distribute Methamphetamine, in violation of21 U.S.C. §841(a)(l).

(ECF #1). He appeared before Magistrate Judge Thomas M.Parker on March 30,2023 for an

initial appearance. Mr. Sloban waived his right to a detention hearing, reserving the right to revisit

the issue of detention at a later date, and was remanded to the custody ofthe U.S. Marshals

pending trial. (ECF #4). On July 5, 2023, he pled guilty to one Coimt ofPossession with Intent

to Distribute in violation of21 U.S.C. §841(a)(l) and (b)(1)(C).

       Mr. Sloban now seeks to modify his detention order to allow him to be released on a

combination of conditions including GPS monitoring or home confinement. He argues that
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conditions have changed since he waived his detention hearing. He cites a recent offer by the

mother of his son to allow him to reside in their home; a return to sobriety wherein he claims to

have control of his drug addiction; and, his desire and commitment to impart some positive

influence on his son before he is incarcerated.


        A district court, at its discretion, may reopen a detention hearing based on changed

circumstances. 18 U.S.C. §3142(f)(2)(B); United States v. Watson,475 Fed. App'x 598,601 (6*''

Cir. 2012). The statute permitting reopening is to be "interpreted strictly." United States v.

Jerdine, No. 1:08 CR 00481,2009 WL 4906564, at *3(N.D. Ohio Dec. 18,2009). The changed

circumstances must have been unknown and unavailable to the Defendant at the time ofthe


original hearing, and must have "a material bearing on the issue of whether there are conditions of

release that will reasonably assure a defendant's appearance at trial and the safety of any other

person in the community." Watson,475 Fed. App'x at 600; see also, Jerdine 2009 WL 4906564,

at *3. The asserted circumstances must be "something other than a defendant's own evaluation of

his character or the strength ofthe case against him: truly changed circumstances, something

imexpected, or a significant event." Jerdine, 2009 WL 4906564, at *3(N.D. Ohio Dec. 18,2009).

       Ifthe detention hearing were re-opened, the Court would re-evaluate the appropriateness of

pre-trial detention under the specific circumstances ofthis case. The Bail Reform Act requires

detention upon a finding that "no condition or combination of conditions will reasonably assure

the appearance ofthe person... and the safety ofany other person and the community." 18 U.S.C.

§3142(e)(1). In order to justify detention, an inability to reasonably assiire the safety of any

person and the community must be shown by clear and convincing evidence. See United States v.

Hinton, 113 F. App'x 76,77(6"^ Cir. 2004). A risk offlight can be established by a
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preponderance ofthe evidence. Id.

        Even if Mr. Sloban could convince the Court that the availability of a potentially suitable

residence and a period of sobriety were sufficient to establish changed circumstances, and that they

have a material bearing on the appropriateness of detention, he cannot establish that release is

warranted under the appropriate standards. Because he has already pled guilty to the charge at

issue and is now merely awaiting sentencing, he would have to satisfy the strict release standard

set forth in 18 U.S.C. §3143(a)(2)in order to be released from detention. Once a defendant who

has been charged with this type of crime pleads guilty, the court is required to order that person

detained unless: "the judicial officer finds there is a substantial likelihood that a motion for

acquittal or new trial will be granted;" or,"an attorney for the Government has recommended that

no sentence ofimprisonment be imposed;" and,"the judicial officer finds by clear and convincing

evidence that the person is not likely to flee or pose a danger to any other person or the

community." 18 §3143(a)(2)(A)(i)-(ii).

       In this case there is no motion for acquittal or new trial, and no basis upon which to find

that any such motion would be likely to be granted. Further, the Government is seeking a term of

imprisonment in this case. Because he has not met the requirements of 18 §3143(a)(2)(A)(i)-(ii),

Mr. Sloban is not a candidate for pre-sentence release. Finally, even if he were eligible to be

considered for release, Mr. Sloban has not demonstrated by clear and convincing evidence that he

is not likely to flee or pose a danger to the commimity. Mr. Sloban has an extensive criminal

history including convictions for possession and aggravated possession of drugs, menacing,

assault, burglary, theft, telephone harassment, criminal trespass, resisting arrest, disorderly

conduct, driving under the influence, and driving imder suspension. He also has a history of
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probation violations which suggests that he is not amenable to following any requirements that

would be imposed as a condition of release. In addition, although he claims to be sober, that

period of sobriety coincides with his incarceration. Although he is to be commended for working

toward and maintaining his sobriety, Mr. Sloban's history of drug abuse is long and his period of

sobriety is relatively short. He has provided no evidence to suggest that he would be likely to

maintain his sobriety if released prior to sentencing.

       For the reasons set forth above, the Court finds that there is no condition of combination of

conditions that could adequately protect individuals and the community from danger if Mr. Sloban

were to be released pending sentencing. Mr. Sloban's Motion to Modify Detention, and Motion

for Home Inspection is, therefore, DENIED. (ECF #26, 29).              IT IS SO ORDERED.




                                                         DONALD C. NUGEN^
                                                         United States District l^dge
DATED             ilMk)
